Exhibit 1
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                              R EFLEX RESPONSES
                              M anagement               Consultancy                  L.L.C.



        Date:     May, 2012

        To: Chief Financial Officer, Reflex Responses Management Consultancy, LLC

        Transfer of Cash and Assets and the Liquidation of Reflex Responses Management Consultancy, LLC

        The following sets forth the instructions for the transfer of cash and assets both pre and post liquidation
        of Reflex Responses Management Consultancy, LLC (R2).

        The following instructions are issued by Michael Roumi a Canadian National and holder of passport
        number 8A653659 as:

           (i)      the duly appointed General Manager of R2 pursuant to the Agreement for the Transfer of
                    Shares and Agreement to Amend the Memorandum of Association of R2 signed before the
                     Emirates of Abu Dhabi Judicial Department on 7/4/2011; and


           (ii)     the duly appointed attorney of R2 pursuant to a power of attorney executed by Autumn
                    Management Consultancy LLC and R2 signed before the Emirates of Abu Dhabi Judicial
                    Department on 8/11/2010.


       The cash and asset position in these instructions are based on the financial position and retained earnings
       of R2 as at 30 April, 2012 (as attached). As such, these instructions may be updated to reflect the
       retained earnings position prior to R2 entering liquidation.


           A. Instructions before liquidating R2


           1. Transfer USD 50,953,806 in cash to an account of Vulcan Management Consultancy, LLC and
              write off the corresponding amount in the accounts of R2.

           2. Transfer all assets pending in R2 corresponding to the 15 aircraft project to North Star Aviation,
              LLC and write off the corresponding amount in the accounts of R2(USD 1,093,176).


           3. Transfer all assets pending in R2 corresponding to the 30 aircraft project to North Star Aviation,
              LLC and write off the corresponding amount in the accounts of R2(USD 26,027,394).




                P.O. Box 132606, Abu Dhabi, UAE — Tel. +971 2 556 7638 — Fax +971 2 556 7639




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                           REFLEX RESPONSES
                           M anagement              Consultancy                L.L.c.


          4. Once realized, all proceeds from the money invested in performance bonds and bank
             guarantees will be transferred to Vulcan Management Consultancy, LIC and write off the
               corresponding amount in the accounts of R2(USD 20,470,424).


          5. Once realized, all proceeds from account receivables pending at the time of liquidation will be
             transferred to Vulcan Management Consultancy, LLC and write off the corresponding amount in
               the accounts of R2(USD 2,840,949).


          6. Maintain sufficient cash in R2 to cover the pending obligations of R2 ((iSD 21,358,836) during
               the liquidation process:


                   a. Fuzes Project USD 18,000,000
                   b. Provisions company close out USD 1,740,529
                  c. Payables USD 1,618,307

          B. Instructions after liouidating R2


          1. Complete the Fuzes project under the direct instructions of Vulcan Management Consultancy,
               LLC.


          2. Proceed with all payments pending to liquidate R2.

         3. Transfer to an account of Vulcan Management Consultancy, LLC all remaining funds after all
            remaining payments and transactions have been completed.

        The above instructions are authorized and accepted by and on behalf of Reflex Responses
        Management Consultancy, LLC.




      MICHAEL ROUMI
      PRESIDENT
      for and on behalf of
      REFLEX RESPONSES MANAGEMENT
      CONSULTANCY LLC


           P.O. Box 132606, Abu Dhabi, UAE — Tel. +971 2 556 7638 — Fax +971 2 556 7639




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                                                                Date   23-Jun-2013        No.       656661
Pay to the order or
              MICHAEL ROUMI



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         ACKNOWLEDGMENT AND CONFIRMATION

I, the undersigned Michael Roumi. a Canadian national, holder                                                4.11S s        43 31.A.4
of passport number BA653659 and Emirates ID No:               ‘vm.--                                             441131..4               Ar."1-1&4, .44        cz)
    7950-2, do hereby acknowledge and confirm in respect of
my relationship with Mts. Reflex Responses Management                                                                     i =Lk,
Consultancy - LLC (hereinafter referred to as the "Company"),        Uei '4! ..ge)                               -zAJL-11.-41                             i..14414)
whether as a shareholder and/or as manager or any other                 .
                                                                        .>.j                            i   I           it 1.5
position in the Company, the following:



1.    I confirm AL MAQTARI AUDITING, an establishment                         Zaal                                                                 4:51.5 -
     incorporated in Abu Dhabi under commercial licence 1,5,12 3.4 s                           yrtlr es)
                                                                                                       ,
     number 1023463 issued by the Department of Economic
     and Development in Abu Dhabi (the "Liquidator), is the
     appointed liquidator of the Company to represent the
     Company before all private institutions, the governmental ,143    :k-S.)111                                 44`..14t             4"..4-1-1t 4.4.5
                                                                                                                                      ;
     and semi governmental departments in Abu Dhabi in              )1.       43:1S.                   0:=VIct         3_9.1
     connection with the winding up, dissolution and                           J 1,01"
     cancellation of the licenses of the Company without any
                                                                                                                        1-13
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                                                                                                                             ! ;k7.
                                                                                                                                  ,1 J-42153
     objection from me and to consider all the previous sent
                                                                                                                                         J-Zsa
     notices cancelled and not existing anymore to include any
     notices or letters from Ali Habib & Associates as the
     attorney on behalf of myself and Juma Al Kaabi;


2. 1 confirm that the Liquidator is fully authorized without any
   condition or limit to deal with, enter into any agreements .,t                  4-1                      4---04tio
    with, close accounts with, transfer money to, receive                                                                                jtyai
    payments from and make payments to any third party
   (including financial institutions), creditor or debtor of the                                                                 cI
    Company or in any other capacity. on such terms and                     ;
                                                                            ,: ,4:11                                                       ji
    conditions, as he shall in his absolute discretion determine •      431 -•:gL
                                                                                .                                                          jjã
    to be appropriate without any prior approval or confirmation         ‘T4 j                i             L t4XU3:1441
    from myself and otherwise in accordance with the
    liquidation instructions dated 12 June 2012, with reference                                                 jj
                                                                                         L         3
    number 1202009481. Once the liquidation is completed
                                                                                                                        Y                     4,14.
    confirm all amounts shall be paid by the liquidator in
    accordance with the liquidation instructions signed by me
   on 3 May, 2012:



And I do hereby confirm that as per a general release
agreement between the Company and me dated 24 May, 2012                                       N. • ,• 64.                                               )
I have previously received the amount of US$200,000 (two                                           JLt                                (44.)**i _JV
hundred thousand dollars) and that I have also received a final -4—°) • • ` •                            'L
                                                                                                          " 11`"1.,
payment amount of US$100,000 (one hundred thousand) US                                   aelS
Dollars from the Company, which is in full and final settlement
of any profits, benefits, allowances, expenses, bonuses,           s        4J         .
                                                                                       j      S)141
incentive     payments,    commissions,       post-termination                               cti                                           0:.,..4•..5..:4;4
remuneration, accrued holiday pay, relocation expenses, and




                                                                                                                                                NSA0020436
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 compensation and/or any other amounts whatsoever now or in       :4-4u A•71   j":1 L14431 :14              ..}431              .244.1-"11
 the future payable to me by the Company and that the total       r • • • •'• 411-‘-?°.P -25÷.Zt                                        :LitS3:
                                                                                                                                              41 ••
 amount of US$300,000 (three hundred thousand dollars) which               1,14          ja. 4                    (4.5.1.)..1
 has been received by me is full and final settlement of all            6                                 ?'J'
                                                                                                         I4       & S                          4.1
 entitlements or any other payment due to me from the
 Company or any other relation with the Company and I totally                                             t
 waive my right towards the Company and the Liquidator to
 claim any amount in the future in any way whatsoever. I also                                            ,jk.?                     as:3S us :J‘s.,t;11
 confirm my understanding that any further action on my part in
                                                                                                   kiti(471 31/9 4
                                                                                                                 .6Ut                _AV       114.
 violation of this Acknowledgement and Confirmation and/or the
 agreement signed between the Company and me date 24 May,            s-21       k,1-1.5:311        L5M           ).4       "           L4 'U
 2012 may result in legal action being taken against me by the
 Company



 INTENDING TO BE LEGALLY BOUND, I do hereby sign this 1:14                                                                                     3!)`;11
 Acknowledgment and Confirmation on this the 24/06/2013 in )
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 the Emirate of Abu Dhabi.
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 Si     by:
 Mich




 First Witness: Mr Yazan Saoudi                                                                                           3% :
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 Second Witness: Mr3
                   .alem-ATDVraheri




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      REQUIRED                                                                                               PAKISTAN
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            Sits Engineer                          5 years             20                                        MUSCAT
                                                                                                            Tel 00968 789 268
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      Foundations Designer                         S years              1            Al Maqtari Auditing
                                                                                     Accountant% - Auditors Consultants
                                                  S years In
        AutoCAD Orsharnan                           piling
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                                                                                              LIQUIDATION NOTICE
    Piling Hydraulic Mechanic                      6 years
                                                                                            REFLEX RESPONSES MANAGEMENT
     Foundationa Sits Welder                        5 years             1                CONSULTANCY L.L.C.(UNDER LIQUIDATION)
   Heavy Equipment Driver for                                                                REGISTER NO.1181799 ABU DHABI
   Digging Piling Foundadons                       6 yeses              I
                                                                                    For the above mentioned company, the Abu Dhabi
             Crane driver                           5 years             1           Department of Economic Development has initiated
                                                                                    the company closure process by recording In the
                                                                                    commerce register the appointment of a liquidator per
                                                                                    the resolution of the shareholders dated 12 June. 2012
                                                                                    to liquidate the company which was duly attested by
                                                                                    the Abu Dhabi clerk to the Justice on the same day.
 RAK Ras Al Khaimah Free Trade Zone Authority                                       CONCERNED PARTIES may contact the liquidator
 ..                                                                                 within 45 days from the date of this announcement
                 Under notice no. 153-2012,                                         at the following address:-
Rae Al Khaimah Free Trade Zone Authority announom the following:                     AL MADTARI AUDITING
                                                                                     Accountants — Auditors - Consultants
                          De-Registration                                            Post Box 6034, Abu Dhabi
                                                                                     Tel: XX-XXXXXXX              Fax: XX-XXXXXXX
             Dude Nome                          License no:          Type
                                                                                     Concerned parties must submit claims or objections
 Prima Group International F2E                   5006590         Commercial          supported by original supporting documentation to
                                                                                     the liquidator within the stipulated period.
       Finset Formwork. F2E                       5004655        Commercial

       Lord Consultants FZE                       6001470         Consulting             V' W Ras Al Khaimah Free Trade Zone Authority
                                                                                                                                     ATLA.16.,i41.11 ih-L4-sk

                              Name Change                                                             Under notice no. 152-2012,
                                                                                     arm Al Khaimah Fres Trade Zone Authority announces tlw following:

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